           Case 1:23-cr-00135-RP       Document 165          Filed 02/20/25     Page 1 of 1
                                 UNITED STATES DISTRICT COURT
                                       OFFICE OF THE CLERK
                                        WESTERN DISTRICT OF TEXAS




                                                                              501 West Fifth Street, Suite 1100
                                                                                          Austin, Texas 78701
Phillip Devlin                                                                                   512-916-5896
Clerk of Court                            February 20, 2025



Saint Youngblood
#70720510
Federal Correctional Institution #2
P.O. Box 3850
Adelanto, CA 92301

RE:        1:23-cr-135 RP

Dear Mr. Youngblood;

We have received your request for a copy of the docket sheet, judgment and commitment
documents and the transcript in your case. Pursuant to the published Fee Schedule, documents
may be obtained for a fee of .50 cents per page. Your fee is as follows:

           Docket Sheet: 12 pages = $6.00
           Judgment and Commitment: 7 pages = $3.50

           Total = $9.50

  If you would like a copy of your transcript, you must contact the court reporter.    Her information
is as follows: Lily Reznik
                501 West Fifth Street
                Suite 1000
                Austin, Texas

Please reference your case number on all correspondence with the court to ensure proper routing.
Additionally, it appears that you have an attorney working on your appeal, so please contact them
regarding copies and your case.


Please note: your in forma pauperis status does not entitle you to free copies of the record.


                                               Sincerely,


                                               By: DM
                                               Operations Clerk



                                         www.txwd.uscourts.gov
